
AT the District Court of Fredericksburg in October, 1804, the following entry was made in the order book. “ The question whether the court hath original jurisdic- “ tion to receive and sustain an indictment for felony “ before the indictee hath been examined by a court of “justice in the manner prescribed by law, and to proceed “ to trial on the same indictment after the said indictee “ be removed to the jail of this district, by an examining “ court convened subsequent to the finding of the said “ indictment, is for novelty and difficulty adjourned to “ the general court?”
To which question that court consisting of judges Tyler, White and Carrington, Nov. 15, 1804, made the following answer: “ The court is of opinion that the dis- “ trict court hath not original jurisdiction to receive and “ sustain an indictment for felony, before the indictee “ hath been examined by a court of justices in the man- “ ner prescribed by law, and that after the said indictee “ hath been examined before a court of justices, and sent “ to the jail of a district court, a new indictment must be “ filed against him before bis trial in the said court.”
